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DECLARATION OF JOSUE L.!

1. I, Josue L., make this declaration based on my own personal knowledge,
and if called as a witness, I could and wouid testify to the following matters:

2. Daniel is my little brother, though we are very close in age. We are one
year and one month apart. For approximately two months, Daniel has been staying
with my father and me in Washington while he looks for better work opportunities to
support his family. Before August 2016, when I moved up to Washington, Daniel and
I lived with our mother in California and would see each other every day. We grew
up together, living with our mom.

3. Daniel has not left the United States after his arrival as a child in 2003.

4. Daniel is not in a gang. He has never been in a gang. He wears baggy
clothes because he is a little chubby and insecure about his weight. He also has one
tattoo. To some, maybe a young man wearing loose fitting shirts and trousers with a
tattoo means, “gang member,” but that is not Daniel. Daniel is not involved in gang
activities, and he never has been.

5. Daniel is my best friend. We like the same music, same style of clothes,
and fashion accessories. One of our favorite rap artist is Tupac. Daniel spends his free
time going to the beach, going grocery shopping, watching Netflix, or playing video
games with me. He is very hard working and loves his family. Everything he does is
for his family. The main reason he came to Washington was so that he could find a
better paying job and provide his son with more opportunities in life. He also wanted
to earn more so that he to continue giving money to our mom so that she does not
have to work seven days a week. The only time he really leaves the apartment since
he moved to Washington is to look for jobs. He likes listening to music and going

shopping, but he is generally a shy and quiet person.

' Counsel will formally move to use a pseudonym later if the court wishes.

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6. Daniel never got into trouble at school. There were gangs in our school,
but people who were in gangs got into fights all the time and were constantly getting
suspended or in trouble. It was impossible not to be in fights if you were a member of
a gang, especially if you were a member of the Southsiders because they were a
minority at our school.

7.  Daniel’s tattoo has nothing to do with gangs either. When Daniel was
about 18, he got a tattoo that says “La Paz — BCS” and has a star. At the time, Daniel
told me that he wanted a tattoo but did not know what to get, so he decided to get our
hometown, La Paz. He chose the star because he liked how it looked. He has never
had any trouble or issues because of his tattoo until right now.

8. On February 10, 2017, ICE agents came to my apartment and took my
brother without justification. At around 9:00 a.m., ICE agents arrived to arrest my
father just as he was returning from taking my half-brother to school. At the time, I
was in the bedroom of our apartment in bed but I was wide awake. I heard the agents
talking to my father from outside the front door, which is very close to my room. |
did not hear him give the ICE agents consent to enter our home, but the ICE agents
entered our apartment and then entered the bedroom where I was. A third agent stood
near the threshold to the bedroom, positioned so that he could see the front door and
the living room. When the agents came in, I was scared. I had never seen an
immigration officer up close. I was shaking and nervous.

9. | They asked me if I was legally here and they asked me what my status
was. I told them that I was legally here but I said I would not answer any more
questions. I was in my boxers, but the two agents in the bedroom kept asking me
questions before letting me get dressed. As I was getting dressed in front of them, I
heard another ICE agent asking my brother questions. I did not hear them even
mention gangs or my brother’s tattoo.

10. The officers looked around our apartment, but there is not a lot to search.

We have very few pieces of furniture in the house. We have a plastic bed but not

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table or chairs. We have a little couch and a TV stand. You can see just looking with
your eyes what there is.

11. I asked the agent who had been questioning Daniel to tell me why they
were taking Daniel and they refused to give me any explanation. I asked him to give
me his badge number, but he refused. I repeated myself multiple times and he
continued to ignore me. I then watched as the agents took my brother away in
handcuffs, refusing to give either Daniel or me any explanation of why they were
detaining him. I heard my father telling them over and over that my brother had a
work permit and asked them why they were taking him. They continued to ignore us.

12. Ido not think it is fair that they took Daniel without justification, based
solely on the way he looks and the fact that he is from Mexico. He believed that once
he received DACA he didn’t have to be afraid, so long as he followed the rules.
There is a law for a reason, and if ICE agents are law enforcement, they should do
their job right and not break the law themselves. Just imagine, ICE could take people
for no reasons. This should not be happening.

13. I question why ICE is trying to separate immigrant families. I am so sad
without him here. Daniel is a very important member of our family and my best
friend: Daniel buys his son diapers, food, clothes, baby formula, toys, and makes sure
his son has a safe crib to sleep in. Now that Daniel is detained, Daniel cannot provide
the necessities that his three-year-old son needs. Daniel’s son needs him. Our mom

needs him. Our siblings need him. Daniel should not be in detention.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. Executed on February 16, 2017, in
Seattle, Washington.

Josve-_L.

Josue L.

